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   Fill in this information to identify the case:

   Debtor name    AmeriFirst Financial, Inc., et al.
   United States Bankruptcy Court for the District of Delaware
                                                                 (State)
                                                                                                                                            Check if this is an
   Case number (If known): 23-11240 (TMH)
                                                                                                                                            amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: Amended List of Creditors Who Have the 30
 Largest Unsecured Claims and Are Not Insiders (on a Consolidated Basis) 12/15
 A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
 disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured
 creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest
 unsecured claims.


  Name of creditor and complete                Name, telephone number, and Nature of the claim Indicate if   Amount of unsecured claim
  mailing address, including zip code          email address of creditor   (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                               contact                     debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in total
                                                                           professional        unliquidated, claim amount and deduction for value of collateral or
                                                                           services, and       or disputed setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                   Total claim, if   Deduction for   Unsecured claim
                                                                                                                   partially         value of
                                                                                                                   secured           collateral or
                                                                                                                                     setoff
1. RCP CREDIT                 Theodore Samets         Bond Debt                                     U                                                $17,900,893
   OPPORTUNITIES FUND         Tel: 646-907-5604       (Partially
   LOAN SPV (FUND III), L.P. theodore.samets@revere Secured)
   590 MADISON AVE.           ncecapital.com
   FLOOR 29
   NEW YORK, NY 10022
2. RCP Customized Credit Fund Theodore Samets         Bond Debt                                     U                                                5,966,964
   (Fund IV-A), L.P.          Tel: 646-907-5604       (Partially
   590 MADISON AVE.           theodore.samets@revere Secured)
   FLOOR 29                   ncecapital.com
   NEW YORK, NY 10022
3. WELLS FARGO BANK, N.A. Account Manager             Trade Debt                                    U                                                1,086,315
   420 MONTGOMERY ST.         Tel: 866-359-3997
   SAN FRANCISCO, CA 94104 FRPREPOINDEM@wellsf
                              argo.com
4. US BANK                    Account  Manager        Trade Debt                                    U                                                463,165
   PO BOX 1950                Tel: 952-976-9766
   ST. PAUL, MN 55101         CorrespondentBilling@us
                              bank.com
5. PARAGON MICRO INC          Account Manager         Trade Debt                                                                                     435,476
   1711 W GREENTREE DR. Tel: 800-436-7414
   TEMPE, AZ 85284            ar@paragonmicro.com

6. LAKEVIEW LOAN                             Account Manager        Trade Debt                      U                                                431,045
   SERVICING, LLC                            Tel: 855-294-8564
   4425 PONCE DE LEON                        InvoicingTPO@bayviewlo
   MS 5-251                                  ans.com
   CORAL GABLES, FL 33146
7. FARHANG AND MEDCOFF                       Account Manager          Professional                                                                   425,166
   4201 N 24TH ST.                           Tel: 520-214-2000        Services
   PHOENIX, AZ 85016                         fmbilling@farhangmedcoff
                                             .com
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                                                                     contracts)
                                                                                                             Total claim, if   Deduction for   Unsecured claim
                                                                                                             partially         value of
                                                                                                             secured           collateral or
                                                                                                                               setoff

8. TRUIST BANK                          Hannah Slaughter          Trade Debt                  U                                                417,538
   214 N TRYON ST.                      Tel: 252-236-8377
   SUITE 3                              hannah.slaughter@truist.c
   CHARLOTTE, NC 28202                  om
9. JPMCB                                Account Manager           Trade Debt                                                                   339,942
   270 PARK AVE.                        Tel: 312-732-2884
   NEW YORK, NY 10017                   zlata.m.medica@chase.co
                                        m
10.KASOWITZ BENSON                      Edward Filusc             Professional                                                                 187,386
   TORRES LLP                           Tel:                      Services
   1633 BROADWAY                        212-506-1700
   NEW YORK, NY 10019                   EFilusch@kasowitz.com
11.CIT                                  Account Manager           Equipment                   D                                                167,689
   75 N FAIR OAKS AVE.                  Tel: 866-345-1390         Lease
   SUITE C                              myaccounts@firstcitizens.
   PASADENA, CA 91103                   com
12.TOTAL EXPERT                         Account Manager           Trade Debt                  D                                                166,264
   1600 UTICA AVE. S                    accounting@totalexpert.c
   MINNEAPOLIS, MN 55416                om

13.QUARLES & BRADY LLP                  Account Manager          Professional                                                                  142,077
  2 N CENTRAL AVE. #3                   Tel: 602-229-5200        Services
  PHOENIX, AZ 85004                     clientpayments@quarles.c
                                        om
14.UNITED HEALTHCARE                    Sharon Lohman            Employee                                                                      107,737
  9700 HEALTH CARE LN.                  Tel: 612-383-4852        Benefits
  MINNETONKA, MN 55343                  sharon_a_lohman@uhc.c
                                        om
15.PHOENIX ARENA                        S.Vega                   Trade Debt                                                                    95,608
   DEVELOPMENT, LP                      Tel: 602-379-7503
   201 E JEFFERESON ST.                 svega@suns.com
   PHOENIX, AZ 85004
16.EL CAMINO REAL BUILDING Carlee Gutierrez         Real Property                             D                                                93,000
   209 AVENIDA DEL MAR     gutierrez.carlee@yahoo.c Lease
   SAN CLEMENTE, CA 92672 om

17.THE LAW OFFICE OF JEFF Jeff George             Professional                                                                                 85,463
   A. GEORGE, APC         Tel: 714-504-6109       Services
   14071 PEYTON DR.       jeffgeorge@jglawyer.com
   #2710
   CHINO HILLS, CA 91709
18.OPTIMAL BLUE, LLC      Michelle Kersch         Trade Debt                                                                                   80,341
   5340 LEGACY DR.        Tel: 972-781-0200
   BLDG 2                 michelle.kersch@bkfs.co
   2ND FLOOR              m
   PLANO, TX 75024
19.DB TRUST CO. AMERICAS Account Manager          Trade Debt                                                                                   76,530
   1761 E ST ANDREW PLACE Tel: 904-271-2541
   SANTA ANA, CA 92705    ctas.fee-billing@db.com


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                                                                     professional        unliquidated, claim amount and deduction for value of collateral or
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                                                                     government
                                                                     contracts)
                                                                                                             Total claim, if   Deduction for   Unsecured claim
                                                                                                             partially         value of
                                                                                                             secured           collateral or
                                                                                                                               setoff

20.ARTHUR J. GALLAGHER                  Lidsey McCloskey       Trade Debt                                                                      66,367
   RISK MANAGEMENT                      Tel: 847-458-9900
   SERVICES                             Lindsey_McCloskey@ajg.
   333 E OSBORN RD.                     com
   SUITE 100, 270, AND 300
   PHOENIX, AZ 85012
21.ASSIMILATE SOLUTIONS                 Account Manager                  Trade Debt                                                            62,432
   TOWER 49                             Tel: 713-328-4400
   12 E 49TH ST.                        asm-
   34TH FLOOR                           invoices@situsamc.com
   NEW YORK, NY 10017
22.DAMONTEK                             Account Manager                                                                                        44,479
   3458 E NORWARD CIR.                  Tel: 602-600-6321
   MESA AZ 85213                        billing@damontek.com

23.ARIVS                                Account Manager                  Trade Debt                                                            44,150
  1930 N ARBOLEDA RD                    Tel: 480-478-0025
  MESA, AZ 85213                        480-478-0025

24.ACADEMY MORTGAGE                     Jesse Winn               Real Property                                                                 42,512
   CORPORATION                          Tel: 801-256-5522        Lease
   339 W 13490 SOUTH                    Jesse.winn@academymor
   DRAPER, UT 84020                     tgage.com
25.EXPERIAN                             Cecilia Rojas            Trade Debt                                                                    40,677
   PO BOX 841971                        Tel: 714-830-3633
   LOS ANGELES, CA 90084                Cecilia.Rojas@experian.c
                                        om
26.MOURIER LAND                         S. Louie                 Real Property                D                                                40,000
   INVESTMENT                           slouie@ngkf.com          Lease
   CORPORATION
   1430 BLUE OAKS BLVD.
   SUITE 190
   ROSEVILLE, CA 95747
27.CLEARCOMPANY HRM                     Account Manager         Trade Debt                    D                                                37,290
   200 CLARENDON ST.                    Tel: 617-938-3801
   49TH FLOOR                           billing@clearcompany.co
   BOSTON, MA 02116                     m
28.UKG  INC.                            Account Manager         Trade Debt                                                                     36,317
   PO BOX 930953                        Tel: 1-800-432-1729
   ATLANTA, GA 31193                    accountsreceivable@ukg.
                                        com
29.BLACK KNIGHT                         Account Manager         Trade Debt                                                                     33,230
   TECHNOLOGIES                         custsvc@bkfs.com
   PO BOX 742971
   LOS ANGELES, CA 90074
30.MORTGAGE COACH                       Account Manager        Trade Debt                     D                                                30,625
   PO BOX 112                           Tel: 1-800-951-2696
   CORONA, CA 92878                     accounting@mortgagecoa
                                        ch.com


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